            Case 6:12-cv-01451-JWL Document 1 Filed 12/05/12 Page 1 of 4




Randall K. Rathbun #09765
Depew Gillen Rathbun & McInteer LC
8301 E. 21st Street, Suite 450
Wichita, KS 67206-2936
Telephone: (316) 262-4000
Fax: (316) 265-3819
randy@depewgillen.com




                  IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF KANSAS
JCM 082763, LLC                )
                               )
                               )
                   Plaintiff,  )
                               )
vs.                            )                         Case No.: 12-CV-1451-SAC-KGS
                               )
HEINEN BROS. AGRA              )
    SERVICES, INC.             )
                               )
                   Defendant.  )
______________________________ )



                                       COMPLAINT

       COMES NOW the plaintiff, and for its cause of action against the defendant,

alleges and states:

       1.      The plaintiff is a limited liability company duly authorized and existing

under the laws of the state of Florida.

       2.      The defendant is a corporation, duly authorized and existing under the

laws of the state of Kansas. It may be served with process by service upon its registered

agent, Glenn Heinen of 1226 104th Road in Seneca, KS 66538.
            Case 6:12-cv-01451-JWL Document 1 Filed 12/05/12 Page 2 of 4




       3.       This action involves a dispute between citizens of different states and the

amount in controversy is in excess of $75,000. Accordingly this Court’s jurisdiction is

invoked under 28 USC §1332. Venue is proper in this Court under 28 U.S.C. §1391(b)

because a substantial part of the events giving rise to the claim occurred in this judicial

district.

       4.       Plaintiff is the title owner of 480 acres of prime hunting acreage in

Chautauqua County, Kansas. The property is a sportman’s paradise and the plaintiff

operates a hunting lodge and outfitting business on the property.

       5.       On or about June 6, 2011, the defendant made an aerial application of

Remedy Ultra, an herbicide, to property abutting the plaintiff’s land. The label of the

product warns users that applications should be made when there is little or no hazard

from spray drift. It warns that small amounts of spray, which may not be visible, may

seriously injure susceptible plants. Violation of the label is a federal crime.

       6.       In spite of the label warnings, the defendant sprayed on the morning of

June 6 and drift from the spray killed and damaged a large amount of trees on the

plaintiff’s property. The wind was greatly in excess of that specified by the label. The

trees in question had a value in excess of $100,000.

       7.       The defendant’s conduct was wanton and reckless and the defendant is

liable for punitive damages in an amount of $100,000.

        WHEREFORE the plaintiff respectfully prays for a judgment in excess of

$75,000, plus his costs, attorney fees, and any further relief this Court would deem just

or equitable.



                                               2
          Case 6:12-cv-01451-JWL Document 1 Filed 12/05/12 Page 3 of 4




                                  Respectfully submitted,

                                  DEPEW GILLEN RATHBUN & MCINTEER LC




                                  s/Randall K. Rathbun
                                  Randall K. Rathbun #09765
                                  8301 E. 21st Street N., Suite 450
                                  Wichita, KS 67206-2936
                                  Telephone: (316) 262-4000
                                  Fax: (316) 265-3819
                                  Email: randy@depewgillen.com
                                  Attorneys for Plaintiff


                        DESIGNATION OF PLACE OF TRIAL

       COMES NOW the plaintiff and designates Wichita, Kansas, as the place of the

trial of this action.

                           Respectfully submitted,

                           DEPEW GILLEN RATHBUN & MCINTEER LC

                           s/Randall K. Rathbun
                           Randall K. Rathbun #09765
                           Attorneys for Plaintiff




                           REQUEST FOR JURY TRIAL

       COMES NOW the plaintiff and respectfully requests a trial by jury with regard to

the above-captioned action.




                                           3
Case 6:12-cv-01451-JWL Document 1 Filed 12/05/12 Page 4 of 4




               Respectfully submitted,

               DEPEW GILLEN RATHBUN & MCINTEER LC


               s/Randall K. Rathbun
               Randall K. Rathbun, #09765
               Attorneys for Plaintiff




                              4
